EXHIBIT 2
                                                                                                                            5/10/2022 8:59
                                                                                                                            5/10/2022   8:59 AM
                                                                                                                                              AM
                                                                                              Marilyn Burgess
                                                                                              Marilyn Burgess -- District
                                                                                                                 District Clerk
                                                                                                                           Clerk Harris
                                                                                                                                  Harris County
                                                                                                                                          County
                                                 CAUSE    NO.   202223644                                            Envelope No.
                                                                                                                     Envelope     No. 64340511
                                                                                                                                       64340511
COPY OF PLEADING PROVIDED BY PLT
                                                                                                                              By: Alan
                                                                                                                              By:  Alan Robledo
                                                                                                                                         Robledo
                                                                                                                    Filed: 5/10/2022
                                                                                                                   Filed:   5/10/2022 8:59
                                                                                                                                        8:59 AM
                                                                                                                                              AM
                                                         RECEIPT NO: 928253       TRACKING NO: 73997326
                                                            EML
Plaintiff:                                                                        In The 270th
SHIH, PATRICK (M D) (P A)                                                         Judicial District Court of
VS.                                                                               Harris County, Texas
Defendant:                                                                        201 CAROLINE
AETNA LIFE INSURANCE          COMPANY                                             Houston, Texas
                                                 CITATION CORPORATE
THE STATE OF TEXAS
County of Harris

To:    AETNA LIFE INSURANCE COMPANY (A PENNSYLVANIA CORPORATION)                                    MAY BE SERVED BY
SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
1999 BRYAN STREET SUITE 900, DALLAS TX 75201-3136

        Attached is a copy of: PLAINTIFF'S ORIGINAL PETITION

This instrument was filed on April 19, 2022 in the above cited cause number and court. The instrument attached describes
the claim against you.

         YOU HAVE BEEN SUED. You may employ an attorney. If you or your Attorney do not file a written answer with
the District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration date of 20 days after
you were served this citation and petition, a default judgment may be taken against you. In addition to filing a written answer
with the clerk, you may be required to make initial disclosures to the other parties of this suit. These disclosures generally
must be made no later than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

        This citation was issued on April 21, 2022, under my hand and seal of said court.


                                                                                    Madi Bangs
Issued at the request of:                                                           Marilyn Burgess, District Clerk
Thomas, Zachary W                                                                   Harris County, Texas
2402 DUNLAVY STREET SUITE 2000                                                      201 CAROLINE Houston Texas 77002
HOUSTON, TX 77006                                                                   (PO Box 4651, Houston, Texas 77210)
713-405-7090
Bar Number: 24070739
                                                                                    Generated By:CAROLINA SALGADO
                                                                              Tracking Number: 73997326
EML


                                                   CAUSE NUMBER:         202223644


PLAINTIFF: SHIH, PATRICK (M D) (P A)                                                    In the 270th
      VS.                                                                               Judicial District Court of
DEFENDANT:      AETNA       LIFE INSURANCE    COMPANY                                   Harris County, Texas




                                         OFFICER - AUTHORIZED PERSON RETURN

Came to hand at              o'clock.     M. on the             day of                                    , 20       . Executed at

(Address)
in

                             County at o'clock ___. M. On the                day of                                  , 20           , by

Delivering to                                                               defendant, in person, a true copy of this Citation
together with the accompanying               copy (ies) of the «Attachment». Petition attached thereto and I endorsed on said
copy of the Citation the date of delivery.

To certify which I affix my hand officially this                    day of                                                  , 20.

        100.00
Fees $100.00


                                                                              By
                  Affiant                                                                                 Deputy

On this day,                                                           , known to me to be the person whose signature
appears on the foregoing return, personally appeared. After being by me duly sworn, he/she stated that this citation was
executed by him/her in the exact manner recited on the return.

SWORN TO AND SUBSCRIBED BEFORE ME, On this                           day of                                                  ,20__




                                                                              Notary Public




                                      AFFIDAVIT
                                      ATTACHED
                                                 AFFIDAVIT OF SERVICE

State of Texas                                             County of Harris                                        270th Judicial District Court

Case Number: 202223644

Plaintiff:
SHIH, PATRICK     (MD) (PA)
VS.

Defendant:
AETNA LIFE INSURANCE           COMPANY

For:
Zachary Thomas - New
Nichols Brar Weitzner Thomas     LLP
2402 Dunlavy Street
Suite 200
Houston, TX 77006

Received by Kim Tindall & Associates, LLC on the 29th day of April, 2022 at 11:53 am to be served on AETNA LIFE
INSURANCE COMPANY (A PENNSYLVANIA CORPORATION) BY SERVING ITS REGISTERED AGENT CT
CORPORATION SYSTEM, 1999 BRYAN STREET, SUITE 900, DALLAS, Dallas County, TX 75201-3136.

I, Anthony Collins, being duly sworn, depose and say that on the 29th day of April, 2022 at 2:55 pm, I:

Executed service by hand delivering a true copy of the Citation, Plaintiff's Original Petition, ASSIGNMENT OF
BENEFITS, ASSIGNMENT OF RIGHTS TO PURSUE ERISA AND OTHER LEGAL AND ADMINISTRATIVE
CLAIMS ASSOCIATED WITH MY HEALTH INSURANCE AND /OR HEALTH BENEFIT PLAN (INCLUDING
BREACH OF FIDUCIARY DUTY) AND DESIGNATION OF AUTHORIZED REPRESENTATIVE to: Terri
Thongsavat , an authorized acceptance agent employed by Registered Agent CT Corporation System, Inc., who
is authorized to accept service of process for AETNA             LIFE INSURANCE              COMPANY              (A PENNSYLVANIA
CORPORATION)      , at the address of: 1999 BRYAN STREET, SUITE 900, DALLAS, Dallas County, TX
75201-3136, and informed said person of the contents therein, in compliance with state statutes.




"| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server in
good standing in the judicial circuit in which the process was served. | have personal knowledge of the facts set forth
in this affidavit, and they are true and correct."

                     CHARLES   P GOODSON
                    Notary ID #130419821
                    My Commission Expires
                      October 27, 2023

                                                                              Anthony Collins
                                                                              PSC-357 Expires 12/31/2023
               d Sworn to before me on the 2nd day of
              the affiant who is personally known to me.                      Kim Tindall & Associates,                LLC
[                          ]           —                                      16414 San Pedro
.                                                                             Suite 900
NOTARY PUBLIC                                                                 San Antonio, TX 78232
                                                                              (866) 672-7880

                                                                              Our Job Serial Number:               KTA-2022001039




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